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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK                                     DOC #: _ __--J-J-<.iJ--~r-Pw-+-
------------------------------------------x                       DATE Fil ED: . -    ,,-
UNITED STATES OF AMERICA,


                -against-                                                   12-cr-0659 (LAK)


EVAN ZAUDER,

                               Defendant.
------------------------------------------x


                                            ORDER


LEWIS    A. KAPLAN, District Judge.

              The government shall respond to defendant's motion for compassionate release on
or before November 23, 2020.

                SO ORDERED.

Dated:          November 9, 2020




                                                          Lew
                                                     United States D' trict Judge
